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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION                                                                     MDL No. 1917



                                  (SEE ATTACHED SCHEDULE)



                         CONDITIONAL TRANSFER ORDER (CTO−4)



On February 15, 2008, the Panel transferred 1 civil action(s) to the United States District Court for
the Northern Distirct of California for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. §1407. See 536 F.Supp.2d 1364 (J.P.M.L. 2008). Since that time, 16 additional action(s)
have been transferred to the Northern Distirct of California. With the consent of that court, all such
actions have been assigned to the Honorable Samuel Conti.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern Distirct of California and assigned to
Judge Conti.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. §1407 to the
Northern Distirct of California for the reasons stated in the order of February 15, 2008, and, with the
consent of that court, assigned to the Honorable Samuel Conti.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern Distirct of California. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                     FOR THE PANEL:



               Mar 23, 2011                          Jeffery N. Lüthi
                                                     Clerk of the Panel
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IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION                                                         MDL No. 1917



                 SCHEDULE CTO−4 − TAG−ALONG ACTIONS



 DIST   DIV.    C.A.NO.     CASE CAPTION


NEW YORK EASTERN

 NYE     2      11−00831    Electrograph Systems, Inc. et al v. Hitachi Ltd. et al
